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                          UNITED STATED DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

 Familias Unidas Por La Educación,

         Plaintiff,

         v.                                          Case No. 3:20-cv-170

 El Paso Independent School District; and

 Robert Geske, in his official capacity as
 President of the Board of Trustees of the El
 Paso Independent School District;

         Defendants.

                       COMPLAINT SEEKING INJUNCTIVE RELIEF

       For more than a century, the El Paso Independent School District (“EPISD”) has engaged

in systemic discrimination against poor, Hispanic, and Mexican-American students. Freed from

the restraints of judicial oversight in 2017, EPISD immediately returned to its discriminatory roots:

within months of the termination of a court order compelling desegregation, EPISD closed three

elementary schools in or near the Chamizal neighborhood while leaving untouched schools in

whiter neighborhoods. Further exacerbating the harm caused by these school closings, EPISD

directed no bond monies for improving facilities in this same neighborhood, but instead dedicated

those funds to schools in other, whiter neighborhoods.

       Plaintiff asks this Court to once again hold EPISD accountable for its discriminatory

practices. Because recent acts by EPISD deny equal protection to all school children in El Paso,

Plaintiff seeks the judicial intervention necessary to ensure equal access to safe, clean and

accessible schools in Chamizal.




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                Familias Unidas Por La Educación (“Familias Unidas”) is a non-profit

membership organization comprised primarily of parents of children whose elementary schools

were closed by the El Paso Independent School District (“EPISD” or the “District”). To justify

closing schools in poorer Hispanic neighborhoods—Beall, Burleson, and Alta Vista Elementary

Schools—and retain underutilized facilities in wealthier white neighborhoods, EPISD rejected

the recommendation of its own engineering firm and substituted a patently arbitrary formula to

manipulate utilization rates. During the closure decision and the closure process, EPISD turned a

deaf ear to the views of Spanish-speaking parents. After the closures, EPISD failed to remediate

the schools to accommodate the increased enrollment from Beall, Burleson, and Alta Vista. The

consequence has been to concentrate poorer Hispanic children in schools that are among the

oldest, most poorly maintained, and most dangerous schools in EPISD. Familias Unidas seeks

declaratory and injunctive relief to end EPISD’s unlawful treatment of Hispanic and Mexican-

American students and families in the Chamizal neighborhoods. Familias Unidas seeks to ensure

that students in the Chamizal have the equal opportunity to obtain an education without regard to

their race or national origin.

                                 JURISDICTION AND VENUE

                This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 (federal

question jurisdiction) and 28 U.S.C. § 1343(a)(3) (civil rights jurisdiction) because this action

arises under the laws of the United States, including 42 U.S.C. § 1983.

                Venue is proper in this district pursuant to 28 U.S.C. § 1391 because Defendants

are located in this district and the events giving rise Plaintiff’s claims occurred within this

district.

                An actual controversy between the Plaintiff and Defendants renders declaratory

judgment appropriate under 28 U.S.C. § 2201.
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                                             PARTIES

               Plaintiff Familias Unidas Por La Educación is a not-for-profit membership

organization located in El Paso, Texas. Familias Unidas began work in 2016 through a number

of predecessor organizations that were consolidated in 2020. Familias Unidas consists primarily

of, and is governed by, parents, guardians, and caregivers of children who previously attended

Beall and Burleson elementary schools. Familias Unidas’s mission is to improve educational

opportunities for children who expect to attend Bowie and Jefferson High Schools.

               The claims asserted in this lawsuit are germane to the purposes for which

Familias Unidas exists. As set forth in its articles of incorporation, Familias Unidas exists “To

improve the educational outcomes for children in the Chamizal area of El Paso, Texas, especially

children who are in the feeder patterns of Bowie and Jefferson High Schools.” EPISD’s failure

to comply with applicable federal laws that aim to ensure an adequate education for all students,

regardless of race or national origin, has interfered with Plaintiff’s purpose and mission.

Through this lawsuit, Familias Unidas aims to reverse the harms caused by EPISD, and in doing

so improve education for its members’ children.

               Familias Unidas has standing in that (i) its members would have standing to

challenge the violations alleged in this complaint, (ii) Familias Unidas seeks to protect interests

germane to its purpose, and (iii) litigation of the violations alleged in this complaint does not

require the participation of individual members in the lawsuit. See Ass’n of Am. Physicians &

Surgeons, Inc. v. Texas Med. Bd., 627 F.3d 547, 550–51 (5th Cir. 2010).

               Defendant EPISD is a public school district and a local educational agency

headquartered and operating in El Paso, Texas. Within its boundaries, EPISD has primary

responsibility for implementing Texas’s system of public education and promoting student

performance in accord with the Texas Education Code.
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                EPISD is governed by a board of trustees (the “Board”), which is responsible for

overseeing EPISD’s management, including establishing general policies governing the

operation of schools in the District. The Board has seven seats, each representing a separate

geographic district, and is legally and solely responsible for deciding whether to continue or

cease to operate schools within the District.

                EPISD may be served through its Superintendent, Juan E. Cabrera. See

Fed. R. Civ. P. 4(J)(2)(A) (unit of local government may be served through its chief executive

officer); Texas Education Code § 11.201(a) (superintendent is chief executive officer of the

school district).

                Defendant Robert Geske is President of the EPISD Board of Trustees. As

president, Mr. Geske has the authority and responsibility to enforce parliamentary rules at Board

meetings, coordinate with the Superintendent concerning issues that may need to come before

the Board for action, develop agendas for Board meetings, and give recognition to Board

members to comment on a topic being discussed. Familias Unidas brings this suit against Robert

Geske in his official capacity as President of the EPISD Board of Trustees.

                                                FACTS

I.      EPISD Has Repeatedly and Consistently Discriminated Along Racial and Ethnic
        Lines and Against the Chamizal Neighborhood.

                Since it was first created in 1883, EPISD has demonstrated a repeated and

consistent history of purposeful discrimination against minority students and families with

disregard for state and federal law. These violations have required the intervention of this Court,

the United States Court of Appeals for the Fifth Circuit, and various federal and state agencies

including the Federal Bureau of Investigation, the United States Department of Education, the

United States Department of Justice, and the Texas Education Agency.


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              In the 2018 to 2019 school year, there were 55 elementary schools in EPISD. 1

              EPISD is a majority-minority district. In the 2018 to 2019 school year, about

84% of EPISD students were Hispanic and about 9% of students were white.

              The Chamizal neighborhood in El Paso is approximately bounded to the north by

I-10, the east by Gateway South Boulevard, the south by Paisano Drive and Cesar Chavez

Memorial Highway, and the west by Laurel Street and the railroad tracks.




1
       EPISD also had one combined elementary and middle school, MacArthur Intermediate
       School, as well as an alternative disciplinary education program for elementary school
       students, the About Face Program.

                                               5
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               The Chamizal has a long and storied history. The neighborhood is situated along

the border of the United States and Mexico.

               Since it was established, the Chamizal has been a working-class, immigrant,

Mexican-American neighborhood that has been subject to repeated discrimination.

               The Chamizal neighborhood is approximately comprised of census tracts 28 and

29.

               The United States and Mexico disputed the ownership of parts of the Chamizal

until 1964.

               The dispute, and associated lack of law enforcement authority, made the area a

haven for slumlords who sought to obtain the most rent from the most vulnerable populations

with the least government oversight, as well as business owners looking to install hazards like

slaughterhouses and garbage dumps that other neighborhoods had the power to prevent.

               In 1964, the United States and Mexico ratified a treaty resolving the dispute. The

controversial treaty split the disputed land between the United States and Mexico, separating

people from friends and family along newly declared national boundaries.

               El Paso is one of the most impoverished cities in the United States, and the

Chamizal neighborhood is one of the poorest, most Hispanic, and most Mexican-American

neighborhoods in El Paso.2

               Specifically, in the Chamizal neighborhood, more than 50% of the population

falls below the poverty level and more than 98% of the population is Hispanic. By contrast,




2
       Demographic information is based upon the 2018 American Community Survey 5-Year
       Estimates, available at https://data.census.gov, unless otherwise noted. Information for
       the Chamizal neighborhood is based upon census tracts 28 and 29.

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when taken as a whole, 20% of the population of El Paso falls below the poverty level and 81%

of the population is Hispanic.

               Nearly all Hispanic individuals residing in El Paso and the Chamizal are of

Mexican descent.3

               Beall Elementary School is a former EPISD elementary school located in the

Chamizal. The Board voted to close Beall in January 2019, and Beall was closed beginning with

the 2019 to 2020 school year.

               Burleson Elementary School is a former EPISD elementary school located near

the Chamizal. The Board voted to close Burleson in January 2019, and Burleson was closed

beginning with the 2019 to 2020 school year.

               Alta Vista Elementary School is a former EPISD elementary school located near

the Chamizal. The Board voted to close Alta Vista in January 2019, and Alta Vista was closed

beginning with the 2019 to 2020 school year.

               Zavala Elementary School is an elementary school in EPISD.

               Zavala Elementary School is located in the Chamizal.

               In connection with the closure of Beall and Burleson, the Board adjusted the

Zavala attendance zones to include students who were in the Burleson attendance zone.

               Douglass Elementary School is an EPISD elementary school located in the

Chamizal.

               In connection with the closure of Beall and Burleson, the Board adjusted the

Douglass attendance zones to include students who previously attended Beall and some students

who previously attended Zavala.


3
       2010 Decennial Census, available at https://bit.ly/2wQTpCq.

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               The attendance zones for Beall, Burleson, Douglass, and Zavala (together, the

“Chamizal Schools”) overlap with United States Census Bureau Tracts 28, 29, and 30 (the

“School Zones”). These communities are demographically and culturally distinct from El Paso

as a whole.

               Within the School Zones, about 94% of households speak Spanish at home and

about 40% of residents were not born in the United States—both rates that far exceed EPISD’s

rates of 61% and 24%, respectively.

               EPISD has a particularly egregious history of purposeful discrimination against

Hispanic and Mexican-American students in the Chamizal neighborhood of El Paso.

               The schools in the present-day Chamizal area were originally administered

explicitly as segregated Mexican schools.

               A 1922 survey of El Paso Schools found “two cities existing side by side, with

only the railroad tracks between, and yet varying greatly in their needs, their taxable values and

their racial traits and ideas.”4 The surveyor concluded that “[t]his distinction must be borne in

mind by anyone who would really understand the school problem of El Paso.” 5

               The Chamizal Schools are, on average, much more Hispanic and Mexican-

American and have significantly more limited-English proficient students than EPISD’s

elementary schools as a whole.

               More than 99% of all students in the Chamizal Schools are Hispanic.

               The four Chamizal Schools and Alta Vista include (i) the two schools with the

greatest percentage of Hispanic students in EPISD, (ii) four of the eight EPISD schools with the



4
       Paul W. Horn, Survey of the City Schools of El Paso, Texas 8 (1922).
5
       Id.

                                                 8
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greatest percentage of English Language Learners, (iii) the two EPISD schools with the greatest

percentage of Economically Disadvantaged students, and (iv) excluding alternative (disciplinary)

education programs, four of the six EPISD schools with the greatest percentage of students

identified as at-risk of dropping out of school.6

               Bowie High School and Thomas Jefferson High School are in the Chamizal

Schools’ feeder patterns and are located in or near the Chamizal.

       A.      The Chamizal Schools Were Subject to This Court’s Desegregation Order in
               Alvarado v. EPISD.

               In 1970, Mexican-American parents filed a lawsuit on behalf of themselves and

their children against EPISD, alleging racial and ethnic discrimination through the operation of a

dual segregated school system.

               Following a lengthy trial on the merits, this Court found that plaintiffs had

demonstrated “a past or historical segregative design on the part of [EPISD] in virtually all areas

and aspects of the School System” as well as “a very limited present and continuing” dual school

system.

               Specifically, this Court found, among other things, that the establishment of

Bowie High School intentionally fostered ethnic isolation of Mexican-Americans and its faculty

composition fell above the Singleton tolerance range. 7



6
       All demographic information of students in this complaint is for the 2018-2019 academic
       year, unless otherwise noted.
7
       The Singleton Tolerance Range, or Singleton Variation, refers to the degree to which a
       school district can deviate from Singleton’s requirement that school districts assign
       school staff such that the racial composition of staff at each school is “substantially the
       same” as in the entire school system. Singleton v. Jackson Mun. Separate Sch. Dist., 419
       F.2d 1211, 1222 (5th Cir.), judgment vacated in part on other grounds Carter v. W.
       Feliciana Par. Sch. Bd., 396 U.S. 226 (1969), judgment rev’d on other grounds sub nom.
       Carter v. W. Feliciana Par. Sch. Bd., 396 U.S. 290 (1970).

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               This Court further found that EPISD had a history of maintaining inferior

facilities for Mexican-American students by, among other things: (i) limiting facilities funding,

(ii) poor building maintenance, (iii) overcrowding, (iv) maintaining inadequate playground and

sports facilities, and (v) poor lighting conditions.

               This Court also found that the disparate allocation of air conditioning to white and

Mexican-American schools indicated discriminatory intent by EPISD.

               This Court’s order in Alvarado documented some of the history of Chamizal

Schools. For example, EPISD’s history of discrimination against the Chamizal Schools extends

far back to the 1800s, with the establishment of Douglass as EPISD’s first “colored” school.

               This Court further observed that in 1922 Beall was one of the elementary schools

“south of the tracks,” in the “Mexican District,” and, in 1934, Beall, Burleson, and Zavala were

among eight Bowie feeder schools, all of which were predominantly Mexican-American.

               In Alvarado, to ensure that “all students within [EPISD] are provided with equal

educational opportunities,” this Court ordered that EPISD (i) provide transportation between

certain areas and schools; (ii) redraw attendance zones; (iii) increase the number of air-

conditioned predominantly Mexican-American schools; (iv) hire staff to attain the Singleton

standards; (v) assign Mexican-American teachers to predominantly Anglo-American schools,

and Anglo-American teachers to predominately Mexican-American schools sufficiently to meet

the Singleton standards; and (vi) promote qualified minority personnel.

               EPISD appealed, and the United States Court of Appeals for the Fifth Circuit

affirmed this Court’s judgment in Alvarado.

               In June 2017, this Court vacated the desegregation order in Alvarado v. EPISD.

EPISD immediately began working to undo the positive effects of this Court’s order by closing



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schools and changing attendance zones in ways that would have been prohibited by this Court’s

order.

                Specifically, in connection with the 2018 closure of Burnet Elementary School,

EPISD noted in a Frequently Asked Questions document that Burnet would have been closed as

part of the 2016 Bond Project, except that “[t]he attendance zone for Burnet Elementary School

could not be changed at that time due to the 1976 Alvarado v. EPISD case. The Alvarado case

required the current Bliss and Travis Elementary Schools attendance zones. It also required the

current attendance zones for Burnet, Logan, and Powell Elementary Schools. The orders were

vacated on June 8, 2017.”

                EPISD’s consistent and repeated history and practice of discrimination against

minority students in the Chamizal area continues to occur and influences EPISD’s policies,

practices, decisions, and actions today.

         B.     EPISD’s Recent Cheating Scheme and Other Discriminatory Activities
                Deliberately Targeted the Chamizal Schools and Continue a History of
                Mismanagement.

                Bowie High School was and is one of the most heavily minority high schools in

the District, with more than 99% Hispanic students.

                Discrimination against Bowie students is necessarily also discrimination against

the Chamizal families, including former Beall and Burleson students. Two of the Chamizal

Schools are in the Bowie feeder pattern, and Bowie High School serves students who live in the

Chamizal.

                In 2012, the Texas Education Agency appointed a board of managers to oversee

EPISD for up to two years.

                The appointment stemmed from a scandal in which EPISD purposefully forced

students out of Bowie High School and other schools in an effort to increase district funding
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through improving scores on standardized tests. These efforts were frequently targeted at

Mexican-American students, incorrectly identifying students who withdrew or never enrolled in

EPISD schools as having “returned to home country.”

               The scandal involved associate superintendent James Anderson, who instructed

school principals to discourage students from re-enrolling in the school, including incorrectly

telling students that they were too old to enroll and telling adult students that they need a parent

to enroll, causing many students to never return to school.

               Students who were pushed out using these tactics were incorrectly marked in

EPISD’s records as “returned to home country” when they in fact still lived in the United States.

               Students were also inappropriately retained in lower grades or advanced to higher

grades in order to avoid testing.

               The scandal particularly impacted Bowie High School, which is in the feeder

pattern for two Chamizal Schools.

               In 2010, State Senator Eliot Shapleigh raised concerns related to the scandal,

prompting an FBI investigation of EPISD. This FBI investigation resulted in the arrest of the

Superintendent of EPISD on fraud charges to which the Superintendent pleaded guilty. See USA

v. Garcia, 3:11-cr-01830 (W.D. Tex. 2011), ECF No. 3.

               The TEA appointed a board of managers to govern EPISD for up to two years.

EPISD’s Board of Trustees challenged the TEA’s decision with the state’s Commissioner of

Education, but the Commissioner upheld the TEA’s decision.

               The board of managers was formally installed in May 2013.

               In June 2013, the Office of the Inspector General of the United States Department

of Education (“DOE”) found that EPISD’s internal controls—the District’s policies and



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procedures that should provide reasonable assurance of compliance—were “insufficient to

provide reasonable assurance of compliance with laws and regulations” and that the data

submitted to the DOE from Bowie High School was unreliable.

               Among other problems, DOE found that EPISD leadership failed to candidly

acknowledge “that it had found violations of El Paso policies, potential falsifications of

government documents, and improper promotion and retention of students in an effort to avoid

possible Federal education accountability sanctions, among other issues.”

               In 2015, following the expiration of its complete two-year term, TEA dissolved

the board of managers, and the Board of Trustees resumed its management of EPISD, including

allocation of funding and management of schools.

II.    EPISD Targeted its Most Hispanic and Mexican-American Schools for
       Consolidation.

       A.      The 2016 Bond Process

               While the TEA-appointed board of managers was still in place, EPISD

commissioned Jacobs Project Management Co. (“Jacobs”), an engineering and construction firm,

to conduct a comprehensive facilities condition assessment of every campus facility in EPISD.

               Jacobs applied its expertise and experience to assess school facilities, capacity,

condition, 5-year life cycle, enrollment projections, stakeholders, and recommended

development. This assessment is published as EPISD’s March 2015 “State of School Facilities”

report (the “Jacobs Report”).

                Jacobs developed its report in conjunction with consultants from ECM

International, DeJong-Richter, and Dr. William Wachtel.




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                The El Paso Times described the Jacobs Report as “long-overdue” and “a good

tool for the incoming elected board to use in determining how to operate the district more

efficiently.”

                On or about January 21, 2015, Jacobs presented a Facilities Master Plan to the

TEA-approved board of managers (the “Jacobs Plan”). This Plan was based on the research that

would subsequently be published as the Jacobs Report.

                The Jacobs Plan recommended that sixteen schools be rebuilt, including Burleson

and Douglass, that three schools receive major renovations, and that 58 schools receive

“Prioritized Renovations.”

                The Jacobs Plan advised EPISD to (i) close or repurpose twelve elementary

schools; (ii) build a new campus on the property where Douglass currently exists and send Beall

students to the newly built school; and (iii) build a new campus on the Burleson property and

send Zavala students to the newly built school.

                In or about 2016, EPISD created a Facilities Advisory Committee (“FAC”)

comprised of community members. The FAC originally included Hilda Villegas and Guillermo

Glen, who are now respectively President and a member of Familias Unidas. Villegas and Glen

eventually resigned from their positions on the FAC in protest over EPISD’s discriminatory

actions towards the Chamizal Schools.

                Familias Unidas’ community involvement on the issue of school closures began

in 2016 with the consistent voicing of concerns about the environmental hazards at both

Douglass and Zavala. Familias Unidas and its predecessor organizations made numerous

attempts to inform EPISD about the environmental problems in the Chamizal Schools.




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               In response to these concerns, EPISD’s FAC facilitator sent a letter to FAC

members on or about July 14, 2016 stating that in response to the concerns, EPISD “has

determined to undertake a study to evaluate the environmental safety of our precious children at

Beall, Zavala and Douglass and take any steps necessary to ensure those children learn and grow

in a safe environment.”

               On information and belief, EPISD has never undertaken a comprehensive study to

evaluate environmental hazards at Beall, Zavala, and Douglass.

               In August 2016, the FAC submitted a $668 million bond proposal—the largest

ever in El Paso County—which was approved by the Board and voters (the “Bond Project”).

               The Bond Project that was approved by the FAC, the Board, and EPISD voters

did not involve the closure or consolidation of any of the Chamizal Schools, but also did not

require funding to be allocated for construction at the Chamizal Schools.

               The Bond Project affected 28 EPISD schools (the “Bond Schools”) and included

eight potential or final consolidation projects affecting up to eighteen schools, 8 but did not

mention any consolidation or closure of any of the Chamizal Schools.

               The Bond Project included funding for construction and improvements associated

with each potential consolidation, as well as funding for ten schools without any associated

consolidations.9




8
       The project included the potential closure or consolidation of Bond, Bonham, Bradley,
       Clardy, Collins, Crosby, Dowell, Fannin, Hughey, Johnson, Roberts, and Schuster
       elementary schools; and Henderson, Lincoln, MacArthur, Morehead, Ross, and Terrace
       middle schools.
9
       The project included funding for construction and improvements for Andress, Austin,
       Burges, Coronado, El Paso, Irvin, and Jefferson high schools; Bassett Middle School;
       Crockett Elementary School; and Silva Magnet School.

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                 Despite the recommendations in the Jacobs Plan that the Chamizal Schools

receive substantial funding and renovations, the Bond Project did not require any funding to be

allocated to the Chamizal Schools.

                 Had EPISD implemented the Jacobs Plan, the Chamizal Schools would have been

slated for closure through the Bond Project and would have received substantial funding for

construction.

                 According to the Jacobs Report, EPISD’s elementary schools were, on average, at

about 87% capacity, and the Chamizal Schools were, on average at about 84% of capacity

utilization.

        B.       Familias Unidas’ Community Involvement on Environmental Issues

                 Environmental problems in the Chamizal have resulted in harms to students who

have been forced to attend Douglass and Zavala as a result of school closures.

                 Familias Unidas’ predecessor organizations have been requesting EPISD to assess

and address environmental problems in local schools since their formation in 2016.

                 In response to environmental concerns, in or about October 2016, Dr. William

Hargrove, the Director for the Center for Environmental Resource Management at the University

of Texas El Paso (“UTEP”), performed a study of soil from playgrounds of Douglass, Beall, and

Zavala as well as several nearby locations.

                 The UTEP study found “moderate to high” lead levels in the soil at the Douglass

and Zavala playgrounds and high levels of copper in soil near Douglass.

                 Both Dr. Hargrove and Dr. Wen-Whai Li, a Professor of Civil Engineering at

UTEP who specializes in, among other areas, air pollution monitoring and health risk

assessments, contacted EPISD on multiple occasions from February 2017 to February 2018 to

discuss air quality monitoring at Beall, Douglass, and Zavala as well as monitoring for a
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proposed bus hub at Bowie High School. EPISD declined to commit to an air quality study of

the Chamizal Schools at that time.

                 In conjunction with EPISD’s attempts to close Chamizal Schools, EPISD decided

to move their Central Bus and Operations Hub to the Bowie High School campus. This move

will further decrease air quality in the Chamizal. On or about April 3, 2018, one of Plaintiff’s

predecessor organizations submitted a complaint under Title VI of the Civil Rights Act of 1964

discussing the discriminatory impacts that relocating this Bus Hub would have on Hispanic

students at Bowie High School as well as on the greater Chamizal community.

          C.     The Announcement of Further School Closures

                 In May 2018 then-Board President Trent Hatch announced that the District

intended to close additional schools. Hatch explained that schools with 65% or lower capacity

utilization were candidates for closure.

                 EPISD claimed that the additional closures were needed to balance the District’s

budget.

                 There was no reasonable basis for EPISD to close further schools. Rather, the

closure of schools in 2019 was a response to a “manufactured crisis,” as affirmed by then-

Trustee Susie Byrd.

                 EPISD’s Board treated the 2019 closures very differently from the Bond Project,

as explained by the-Trustee Susie Byrd. During the 2019 closures, EPISD was “less transparent,

less willing to engage the public in confronting our challenges and less willing to hold ourselves

and administration accountable,” as affirmed by then-trustee Susie Byrd.

                 On or about June 11, 2018, Beall parents learned from a leaked email obtained by

the El Paso Times that EPISD was again targeting their children’s schools for closure.



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               After the El Paso Times reported on the possible closures, the District scheduled

two public meetings on June 18 and 19, 2018, to permit public comment on the closures. The

District scheduled a vote for three days later, June 21, 2018.

               All of El Paso’s six state legislators wrote to the Board with “serious concerns”

about the proposed closures, questioning the existence of a budget deficit and the need to close

the schools, and described the proposal as a “regress[ion]” from the Bond Project.

               On or about June 12, 2018, Dr. Debra Niemeier, an air quality expert from the

University of California at Davis, submitted a letter detailing air quality concerns at each of the

Chamizal Schools and the effects of these air quality concerns on children. This letter

particularly highlighted concerns regarding the truck traffic adjacent to Zavala, and concluded

that “based on the current science, it is irresponsible to locate children in schools close to heavily

traveled roads and certain types of industrial concerns without 1) assessing the potential air

quality effects, and 2) mitigating current and new site location air quality impacts.”

               On or about June 19, 2018, one of Plaintiff’s predecessor organizations submitted

a complaint through EPISD’s internal grievance procedures, complaining of violations of Title

VI, the Americans with Disabilities Act, and the Rehabilitation Act, including environmental

risks to children present at both Douglass and Zavala Elementary Schools.

               The Board was scheduled to vote on the closures on June 21, 2018. At the Board

meeting, then-President Hatch announced that the vote would no longer take place at that

meeting and that the Board would not accept any public comments on the subject. According to

Hatch, the Board recognized that more planning and community engagement were necessary

before closing schools and said EPISD’s “focus and priority is and always will be the children of

El Paso.”



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               The District dismissed the June 19 complaint following an appeal to the

superintendent, stating that it was “moot due to the [Board] not taking action on closure of any

schools” at the time.

       D.      Recalculating Capacity to Target Hispanic and Mexican-American Schools

               Unsatisfied with the results of the Bond Project, which would leave open the

heavily-minority schools that EPISD wanted to close, EPISD ignored the expertise of the

engineering firm, whose report had been commissioned by the now-dissolved Board of

Managers, and decided to prepare its own report (the “EPISD Report”).

               The EPISD Report purportedly identified schools operating below capacity so that

those schools could be slated for consolidation or closure.

               To calculate capacity, the Jacobs Report had employed a “functional capacity”

approach. Utilizing its extensive expertise as an engineering firm to create the report, Jacobs

calculated the capacity of each school in a way that accounted not just for number of classrooms,

but also for a variety of other factors including classroom size and classroom purpose.

               Unlike the Jacobs Report, which relied upon the engineering firm’s extensive

knowledge of the industry to calculate capacity, the EPISD Report simply multiplied the number

of classrooms by the arbitrary number of seventeen students per classroom.

               In the EPISD Report, for purposes of determining supposed capacity, a classroom

was treated the same regardless of size, whether the classroom was for general education or

special education or students with severe disabilities, and whether the classroom was for native

English speakers or English-language learners. All classrooms were considered to be able to

accommodate seventeen students, no more and no less, despite variation in classroom physical

size, intended classroom purpose, needs of the students served, and other classroom needs.



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               In preparing the EPISD Report, EPISD disregarded the calculation of its expert,

as set forth in the Jacobs Report, and applied an arbitrary, capricious, rudimentary, insufficient,

and inaccurate calculation that served no purpose other than to justify the closure of the schools

EPISD wanted to close.

               According to the EPISD Report, 22 out 55 EPISD elementary schools were below

65% capacity during the 2018 through 2019 school year, placing 40% of EPISD elementary

schools below the closure threshold. This large number of elementary schools below the 65%

threshold offered EPISD a facial justification for choosing among a large number of EPISD

schools for closure.

               According to the EPISD Report, twenty-two schools, including Beall, Burleson,

Douglass, Zavala, and Alta Vista were below 65% capacity during the 2018 to 2019 school year.

Other than those five schools, the following seventeen schools were below 65% capacity: Aoy,

Barron, Bliss, Cooley, Crockett, Crosby, Moye, Hughey, Johnson, Lamar, Newman, Roberts,

Rusk, Schuster, Travis, Whitaker, and White elementary schools (the “Low Capacity Schools”).

               Burleson Elementary School—one of the three Closed Schools—was below 65%

capacity utilization according to EPISD’s report, but would have been above 65% capacity

utilization during the 2018 to 2019 school year—and therefore not eligible for closure—had

EPISD utilized the capacity methodology applied in the Jacobs Report. In sharp contrast,

according to the EPISD Report, Burleson was at just 49% capacity utilization.

       E.      Defendants’ Consideration of the Discriminatory Closures

               On December 6, 2018, EPISD staff presented the EPISD Report to the Board.

EPISD staff recommended the closure of Burleson, Beall, Alta Vista, and Schuster elementary

schools.



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               According to district policy, members of the public providing public comments

are allotted three minutes to speak. Further, the Board Operating Procedures Handbook, which

elaborates policies pertaining to the Board, provides that if “additional time [is] needed for all

speakers to address the Board, the Board may designate a future meeting.” However, instead of

giving everyone the opportunity to address the Board on the important issue of school closures,

the Board reduced the speaking allotment to just 1.5 minutes per person.

               At the December 6, 2018 Board meeting, several parents of students at Beall

Elementary School spoke, but not one Burleson parent spoke because parents at Burleson were

still largely or entirely unaware of the closure proposals.

               EPISD subsequently scheduled community meetings for the purpose of sharing

information with the community concerning the closures. EPISD repeatedly provided the public

with incorrect information concerning the meeting times and rescheduled the meetings, creating

confusion and scheduling difficulties for parents and severely limiting the ability of the

interested public to comment on the closures.

               At the community meetings, parents from Alta Vista, Beall, and Burleson

elementary schools criticized EPISD for failing to listen to their concerns; expressed frustration

over the lack of community involvement in the decision-making process (unlike the Bond

Project, in which EPISD convened a committee of community members to assist in the decision-

making process); expressed concerns about student safety and inadequate transportation to

Zavala, Douglass, and Coldwell; and underscored the importance of the schools to the local

communities.

               Under the proposed plan to close Burleson that was presented to the Board, the

newly-drawn attendance zones would require students to cross highway 54 to travel to Zavala



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Elementary School. Highway 54 lies between Burleson and Zavala and is a major artery for

travel and a hazardous route for students to cross to get to school.

               At the Burleson parent meeting, Trustee Velarde admitted that he was initially

shocked by the route that kids would have to walk to get to school, but reconsidered when he

realized that some students who attend the Chamizal Schools already had to make this dangerous

walk.

               In contrast, EPISD staff at the Alta Vista meeting highlighted that the Alta Vista

consolidation would be accompanied by rezoning certain schools in that area so that no child

would need to cross Highway 54.

               EPISD’s approach to Highway 54 for the Chamizal Schools stands in stark

contrast to EPISD’s general treatment of schools with a greater percentage of white students.

               For example, EPISD eliminated consideration of Rivera Elementary School for

closure. According to EPISD, Rivera was eliminated as a closure candidate because if Rivera

were closed, it would be impossible to adjust attendance zones to account for major roadways.

               No roads near Rivera carry traffic that is comparable to Highway 54.

               Rivera has a significantly lower percentage of Hispanic students than Beall,

Burleson, and Alta Vista.

               In fact, EPISD’s approach to Highway 54 for Zavala and Douglass differs

dramatically from its approach for every other school near the Mexican border: within 4 miles of

the border, EPISD’s attendance zones almost perfectly follow Highway 54, ensuring that no

student will need to cross the major throughway. However, this perfect alignment ends at the

Chamizal Schools, the schools nearest to the border. For the Chamizal Schools, Highways 54,




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110, and 62 all cut right through the heart of its current attendance zones, forcing students to

cross dangerous highways.




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                This treatment of Highway 54, like EPISD’s treatment of closures, again falls

along racial lines.

                The schools within four miles of the Mexican border with attendance zones that

cleanly trace Highway 54 such that students do not need to cross the highway are Coldwell,

Hillside, Crockett, Rusk, Travis, and Bliss elementary schools.

                Meanwhile, Highways 62, 110, and 54 cut straight through the heart of the Zavala

and Douglass attendance zones. In fact, the vast majority of the Zavala attendance zone lies on

the other side of Highway 54 from Zavala. Before Burleson was closed, Zavala and Douglass

each lay on opposite sides of Highway 54, reducing the need for students to cross the major

highway.

                Zavala and Douglass both have nearly 100% Hispanic students. Meanwhile,

Coldwell, Hillside, Crockett, Rusk, Travis, and Bliss all have a lower percent of Hispanic

students than Zavala and Douglass, with, on average, about 86% Hispanic students, and about 37

times the rate of white students as Zavala and Douglass.


                            Percent of Students Who Are White
                                                                                                8.00%

                                                                                                7.00%

                                                                                                6.00%

                                                                                                5.00%

                                                                                                4.00%

                                                                                                3.00%

                                                                                                2.00%

                                                                                                1.00%

                                                                                                0.00%

                 Zavala, Douglass                Coldwell, Hillside, Crockett, Rusk, Travis,
                                                                     Bliss




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                The community meeting with Beall was held entirely in Spanish and included

comments and questions from Spanish-speaking parents directed to EPISD staff.

                Trustee Geske represented the area encompassing Beall and attended the Beall

community meeting. However, Trustee Geske does not speak Spanish and was not provided

with a translator. As a result, Spanish-speaking parents were not able to provide any input to

their elected representative on the Board at the Beall community meeting.

                EPISD staff ended the Burleson community meeting without giving all parents

present the opportunity to speak.

                In reality, the community meetings were designed for nothing more than public

relations. When the Board had originally sought to close Beall for the second time in June 2018,

teachers at Beall were told to start packing up their classrooms, before the Board meeting that

had been scheduled to vote on the closure—then scheduled for June 21—had even taken place.

Indeed, the Board did not have the option of keeping Burleson and Alta Vista open: the Board

was presented with just two options for closure, and Burleson and Alta Vista were to be closed as

a part of either plan.

                On information and belief, EPISD took no action in response to comments

received in December 2018 and January 2019 related to the closures. Many of the concerns

expressed by parents at those meetings have proven to be correct.

        F.      EPISD Approved the Discriminatory Closures of Beall, Burleson, and Alta
                Vista

                On January 22, 2019, counsel for Familias Unidas’s predecessor organization

submitted a letter to the Board informing them that a vote to close Beall and Burleson would

likely violate Title VI of the Civil Rights Act and EPISD’s own policies against discrimination.




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               On January 22, 2019, the Board was representative of only a narrow slice of

EPISD’s community and did not at all represent the schools whose fate it was deciding. At the

time of the vote, the Board was comprised of six members: Bob Geske, Al Velarde, Diane Dye,

Chuck Taylor, Trent Hatch, and Mickey Loweree.

               EPISD Board seats are allocated for election among seven voting districts, each of

which are comprised of about 7 to 14 schools.

               At the time of the meeting, the seat on the Board which represented Alta Vista

Elementary School, which the Board was about to vote to close, was vacant. A community

member requested that the Board postpone its vote on the closure until the Alta Vista seat was

filled; instead, the Board voted to leave the seat unfilled for months and proceeded to vote to

close the unrepresented Alta Vista Elementary School.

               On information and belief, at the time of the January 22, 2019 vote, just one out

of six of the Board members—17% of the Board—was Hispanic, and four—67%—were white,

in a virtual inversion of EPISD’s student body, which was about 84% Hispanic in the 2018 to

2019 school year, and just about 9% white.

               At the January 22, 2019 Board meeting, the Board again reduced the time

allocated for speakers from the three minutes provided by policy, contrary to the Board

Operating Procedures Handbook which provides that speakers shall receive three minutes, and if

“additional time [is] needed for all speakers to address the Board, the Board may designate a

future meeting.”

               At the January 22, 2019 meeting, no translator was provided to assist monolingual

English Board members understand Spanish comments from the public, or to help monolingual

Spanish-speakers understand English comments from the public or Board. Without any



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translation, Spanish-speaking national origin and racial minorities were entirely prohibited from

commenting on this significant decision or having their comments heard or considered by non-

Spanish-speaking Board members.

               At the January 22, 2019 meeting, English-speaking Board members failed to

listen to or consider the comments of Spanish-speaking parents, despite the fact that the census

reveals that about 95% of parents in the area of the Chamizal Schools speak Spanish at home.

This limitation almost exclusively targets Hispanic and Mexican-American families and operates

as a proxy for race and national origin.

               A substantial portion of public comments at the January 22, 2019 meeting were in

Spanish.

               On January 22, 2019, the Board voted to close three schools to which the Bond

Project did not allocate any mandatory funding: Alta Vista, Beall, and Burleson elementary

schools.10

               Despite the Jacobs Plan’s recommendation that Beall not be closed until Douglass

was rebuilt and that Zavala close only after Burleson was rebuilt, the January 2019 closures were

decided without any plan for or commitment to construction of new school facilities.




10
       EPISD also voted to close Schuster Elementary School at the January 22, 2019 meeting.
       However, Schuster was already slated for consolidation, construction, and improvements
       as part of the Bond Project, and once the $28.3 million construction project is complete,
       Schuster students will attend the newly-constructed Arcadio Duran Elementary School.
       One year prior, on January 16, 2018, the Board voted to close Burnet Elementary School.
       However, Burnet would have been closed as part of the Bond Project had EPISD not
       been prohibited from doing so by this Court’s order in Alvarado v. EPISD; indeed,
       EPISD did not even include Burnet in its capacity calculation for purposes of determining
       which schools to close.

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        G.         EPISD Closed its Most Hispanic and Mexican-American Schools

                   The EPISD Report and EPISD’s purported 65% capacity utilization threshold for

closing schools gave EPISD flexibility to choose among a large number of schools to close.

However, among the schools that met EPISD’s criteria for closure, the three schools EPISD

targeted for closure were among the most Hispanic and Mexican-American elementary schools

in the District.

                   The Closed Schools on average had 99% Hispanic students and served among the

highest concentrations of Hispanic children in EPISD. Meanwhile, the Low Capacity Schools on

average had about eighteen times the rate of white students as the Closed Schools, and had only

about 85% Hispanic students.


                              Percent of Students Who Are White
                                                                                            8.00%

                                                                                            7.00%

                                                                                            6.00%

                                                                                            5.00%

                                                                                            4.00%

                                                                                            3.00%

                                                                                            2.00%

                                                                                            1.00%

                                                                                            0.00%

                    Closed Schools                         Low-Capacity Schools

                   The Closed Schools are similarly-situated to the Low Capacity Schools. Both the

Jacobs Report and EPISD Report demonstrate that, on average, the Low Capacity Schools used

approximately the same amount of their capacity as the Closed Schools.

                   One of EPISD’s purported rationales for closing schools was to reduce

expenditures. However, the Closed Schools were not spending more money than similarly-


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situated schools. In fact, EPISD actually saved money at the Closed Schools compared to the

Low Capacity Schools and allocated approximately $150 less per student to the Closed Schools

than the Low Capacity Schools.

               The Closed Schools did not receive substantial funding for construction in

connection with the closures, unlike the whiter schools that were scheduled for potential closure

as part of the Bond Project. The Bond Schools that were elementary schools and slated for

potential closure and consolidation had about nineteen times the concentration of white students

as the Closed Schools.


                           Percent of Students Who Are White
 8.00%

 7.00%

 6.00%

 5.00%

 4.00%

 3.00%

 2.00%

 1.00%

 0.00%

                     Closed Schools                               Bond Schools

               Although Jacobs had recommended that significant funding be provided to

improve the Chamizal Schools, neither the 2019 closure decision nor the Bond Project required

funding to be provided for construction or improvements at the Chamizal Schools.

               Only one fact explains EPISD’s choice to close the Closed Schools over the Low

Capacity Schools without associated funding for construction: the Closed Schools were less

white and more Hispanic and Mexican-American than the Low Capacity Schools.




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                 Rather than providing funding for construction of new schools or renovation of

existing schools in connection with the closures of the Closed Schools, EPISD sent Beall and

Burleson students to Douglass and Zavala elementary schools.

                 Both Douglass and Zavala (i) were built in the 1920s, (ii) are among EPISD’s

oldest schools, and (iii) required significant maintenance, including the repair of such basic but

vital problems as cracked drains, damaged and leaking roofing, windows that are unable to open

posing a potential fire hazard, and building controls (e.g., air conditioning systems) past their

useful life.

                 EPISD’s failure to provide funding to the Chamizal Schools for construction

comparable to that provided to their less Hispanic and Mexican-American counterparts that were

slated for potential closure through the Bond Project, is consistent with longstanding EPISD

practice of providing less funding to the Chamizal Schools and schools with greater percentages

of Mexican-American students.

                 EPISD, by vote of its Board, has regularly allocated less per capita state and local

funding to schools with greater percentages of Hispanic or Mexican-American students than it

allocates to similarly-situated schools with greater percentages of white students and lesser

percentages of Mexican-American students.

        H.       The District’s Internal Complaint Process

                 On or about April 16, 2019, Familias Unidas’s predecessor organizations, Beall

Parents Committee and Burleson Parents Committee, filed a complaint with the District

regarding premature closure actions occurring at their schools through the District’s internal

complaint procedures.

                 After meeting with members of the committees, the principals of Beall and

Burleson sent written decisions regarding the complaint on or about May 13, 2019.
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               On or about May 22, 2019, Beall Parents Committee and Burleson Parents

Committee appealed the principals’ decisions.

               On or about May 30, 2019, EPISD staff again met with the parents’ committees.

At the meeting, some parents expressed their concerns related to the grievance in Spanish. On or

about June 10, 2019, the District responded to the appeal.

               Beall and Burleson both shut their doors in May 2019.

               On or about June 24, 2019, Beall Parents Committee and Burleson Parents

Committee appealed the assistant superintendent’s decision to the Board.

               The Board was provided with a packet of materials concerning the appeal, which

included transcriptions of audio tapes recorded at the lower grievance levels.

               The District included the statements of English speakers in the transcripts

provided to the Board but failed to translate or even transcribe the vast majority of the Spanish

dialogue from the audio tapes. As a result, the Board was unable to access transcripts of the vast

majority of the comments of Spanish-speakers.

               On August 20, 2019, the Board considered and formally denied the complaints.

       I.      The Board’s Reconsideration of the Closures

               Later on August 20, 2019, after denying the complaints, the Board again

convened to decide whether to reconsider its decision to close Beall and Burleson. Numerous

members of the community, including El Paso elected officials and community leaders, spoke in

favor of reopening Beall and Burleson to ensure the safety of students.

               Between the January 2019 and August 2019 votes on the fate of Beall and

Burleson, the composition of the Board of Trustees had changed substantially. Josh Acevedo

was elected to the empty seat representing Alta Vista Elementary school. Former Board

President Trent Hatch resigned following allegations that he did not live in the district he
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represented. Freddy Khlayel-Avalos was elected to Hatch’s seat, and Bob Geske replaced Hatch

as president of the Board. Daniel Call was elected to the seat of former trustee Mickey Loweree.

In July 2019, all three new Board members toured the area surrounding the Chamizal Schools.

                Although EPISD knew that many members of the community would likely

address the Board in Spanish, EPISD failed to provide a translator at the August 20, 2019

meeting to reconsider the closure of Beall and Burleson.

                A majority of Board members were not able to understand Spanish well. Without

a translator, the majority of the Board could not understand comments from Spanish-speakers,

and Spanish-speakers were unable to be considered by the majority of the Board.

                Defendant Bob Geske, the President of the Board, and the Board member who

was elected to represent Beall and Douglass elementary schools, did not speak or understand

Spanish well.

                Several members of the community addressed the Board in Spanish. The

superintendent, Juan Cabrera, partially translated just one parent’s comment, but most Spanish

comments went untranslated.

                One community member and member of Familias Unidas, after trying to speak in

English, cried out: “I need translation, please. I need translation.” Her request went unanswered

by the Board, and she delivered her comment in Spanish.

                The following speaker offered to translate so the Board could understand what the

previous speaker had said, but the Board declined her offer, stating that she would need to use

her two minutes for her own comments.11



11
       The State of Texas subsequently recognized the discriminatory nature of refusing to
       allow speakers who require translators appropriate accommodations during public


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               As a result of the lack of a translator, parents who chose or were only able to

speak in Spanish were not able to be heard or considered by the majority of the Board.

               At the August 20, 2019 Board meeting, members of the public were permitted

only two minutes to speak, contrary to district policy which allows three minutes to speak and

provides for continuance to a future meeting time if more time is required.

               At the August 20, 2019 Board meeting, the EPISD Chief of Staff claimed that

EPISD had done adequate environmental monitoring of the Chamizal Schools. For the first time

he asserted that the Texas Commission on Environmental Quality issued reports that concluded

that particulate matter “would not be expected to cause adverse acute health effects, vegetation

effects, or odors,” “would not be expected to cause adverse health effects,” and “would not be

expected to cause long term adverse human health or vegetation effects.”

               However, the Chief of Staff omitted an important fact: the report he referenced

had nothing to do with the Chamizal Schools. Rather, the report he was referring to was neither

prepared in conjunction with EPISD nor based on air quality data from any affected campus, and

therefore does not help EPISD or the public understand the potential environmental risks at

EPISD campuses.

               EPISD’s Chief of Staff proceeded to misrepresent statements from Familias

Unidas’s predecessor organizations, public comments from parents, and counsel for predecessor

organizations as well as previous communications between EPISD and UTEP scientists, in order




       comments by codifying section 551.007 of the Texas Government Code, which requires
       that the Board provide “a member of the public who addresses the body through a
       translator . . . at least twice the amount of time as a member of the public who does not
       require the assistance of a translator in order to ensure that non-English speakers receive
       the same opportunity to address the body.” In this case, not only did the Board not allow
       additional time, but the Board did not offer translation at all.

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to incorrectly assure the Board that EPISD had done its due diligence in performing and

attempting to perform environmental studies. Counsel for Familias Unidas requested a chance to

rebut these assertions but was not allowed to do so.

                At the August 20, 2019 Board meeting, the three newly-elected members of the

Board voted to conduct an environmental impact study of the Chamizal area, which would have

facilitated ensuring student safety in the area, particularly in light of the school consolidations.

The vote failed to pass, with all of the previous members of the Board voting against it.

                At the August 20, 2019 Board meeting, two newly-elected members of the

Board—Trustee Acevedo and Trustee Khlayel-Avalos—voted to reopen Beall and Burleson.

The vote again failed to pass, with all of the previous members of the Board voting against it.

                On August 23, 2019, the Superintendent released a statement declaring, among

other things:

                EPISD wants to make one thing clear: both Zavala and Douglass
                elementary schools are safe learning facilities for students. They
                have been studied by researchers from the University of Texas at El
                Paso and the Texas Commission on Environmental Quality who
                have determined that contamination is not a factor anywhere on
                either campus.

                However, the TCEQ report referenced by the superintendent was the same report

referenced by the Chief of Staff, and does not help EPISD or the public understand the potential

environmental risks at EPISD campuses.

                Despite repeatedly requesting this information starting in 2016, EPISD has failed

to produce to Familias Unidas any study other than Dr. Hargrove’s soil sampling which takes

measurements or specifically analyzes environmental hazards at the Chamizal Schools.

                On December 17, 2019, the Board voted to approve a resolution authorizing the

superintendent or his designee to begin accepting offers to purchase, lease, or use the Beall and


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Burleson campuses, specifically, Beall Elementary School, 320 S. Piedras Street, Lots 17 thru 32

of Block A, and Lots 1 thru 16 and 20ft X 100 ft adj. on South, Block 1, East El Paso Addition;

and Burleson Elementary School, 4400 Blanco Avenue, E.R Talley Survey 6 & 7, Abst #180,

and Tract 2, Block 1, Federal Park Replat A (together, the “Disputed Property”).

       J.      Hispanic and Mexican-American Students Have Suffered and Continue to
               Suffer as a Result of the Closures.

               Both before and following the closures of Beall and Burleson, the concerns of

parents that had been raised regarding the closures came to fruition and have harmed students’

education.

               In Spring 2019, when EPISD began the process of closing the schools, including

removing books from the library and readjusting staffing, students at Beall and Burleson

experienced significant drops in grades.

               Following the closure of Beall and Burleson Hispanic and Mexican-American

students and families were injured by: (i) Zavala Elementary School’s inability to accommodate

all the students who were supposed to attend it under the rezoning, requiring some children to

attend Hawkins Elementary or other elementary schools; (ii) some children being forced to

endure 2 to 3 hour round-trip commutes to school each day; (iii) overcrowding and large class

sizes; (iv) teachers and staff leaving due to poor conditions at the schools, causing insufficient

staffing of teachers and bus staff, and large numbers of students per teacher; (v) reduced

availability of extracurricular activities; and (vi) continued concerns related to student safety,

including exposure to environmental hazards, at Douglass and Zavala elementary schools.

               The closures and consolidations have also resulted in significant personal impacts

to parents and students, including devastation to the local community from the closure of Beall

and Burleson, which are central parts of the Chamizal and Jefferson communities.


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               The personal impacts to students and parents stemming from the closures have

caused nightmares, difficulty sleeping, anxiety attacks, drops in grades, and emotional outbursts

such as crying, in students who formerly attended Beall and Burleson and did not experience

such problems before the closures.

               The location of Douglass is unsafe for students. Douglass’s playground is less

than 300 feet from the nearest actively used industrial site, less than half a mile from EPISD’s

new central bus hub currently under construction at Bowie High School, and adjacent to both a

dangerous canal and railroad tracks. The locations of Beall and Burleson are safer for students

than the location of Douglass.

               The location of Zavala is unsafe for students. Zavala is enclosed on two sides by

busy highways. The highway is less than 100 feet from the Zavala building, and is subject to

daily heavy traffic, including trucks idling on the highway and creating significant localized

pollution as they wait to cross the Mexican border. The locations of Beall and Burleson are safer

for students than the location of Zavala.

               Following the closures of Beall and Burleson, students in the Chamizal are

regularly required to make dangerous commutes to school, including walking across bridges over

dangerous highways that shake and tremble when semitrucks barrel beneath them; are littered

with glass, garbage and debris; and have large chunks of dangerous glass obstructing ingress and

egress to the bridge and school; and experience significant amounts of criminal activity.

               Physical access to Zavala Elementary School from the pedestrian bridge over

highway 110 is unpaved, and at times includes large puddles of standing water on wet and rainy

days, and such puddles often include dangerous debris, such as large chunks of glass.




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                Students at more white schools in EPISD do not experience environmental and

safety hazards as prevalently as the Chamizal Schools because EPISD does more to protect

students at schools with greater concentrations of white students.

                The dangerous and long commutes for students in the Chamizal and other schools

with greater percentages of Hispanic or Mexican-American students are exacerbated by the

school providing fewer and less adequate transportation options, including fewer and less

thorough transportation routes, compared to less Hispanic and Mexican-American schools.

                EPISD insufficiently staffs Douglass and Zavala for the number of students that

the schools now accommodates, resulting in understaffing, large numbers of students per staff

member, and regular staffing of substitute teachers, all factors which, together, impact the ability

of teachers and staff to ensure student safety and quality education.

                The insufficient staffing of Douglass and Zavala includes insufficient nurses; at

the Chamizal Schools, school nurses are only on campus some days of the week.

                The closures and consolidations have resulted in diminished educational quality,

diminished educational opportunities, and significant financial and emotional harms to parents

and students.

                For example, as a result of problems associated with the closures of Beall and

Burleson, Cemelli de Aztlan, a lecturer at the University of Texas El Paso and a member of

Plaintiff’s board, moved to a different neighborhood. In her new neighborhood, Ms. De Aztlan

now faces the hurdle of paying about $200 more in rent each month than she would have paid in

the Chamizal area. Had Beall and Burleson stayed open, Ms. De Aztlan and her children would

have remained in the Chamizal area. Moreover, not only are the problems associated with the

closures of Beall and Burleson so great that she is willing to suffer financial difficulty to avoid



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those problems, but she has also accepted being separated from her previously well-established

community safety net in the Chamzal in order to avoid the myriad difficulties stemming from

EPISD’s discriminatory decision. However, Ms. De Aztlan views these hurdles as well worth it,

to protect her children from the difficulties imposed on students and parents as a result of the

closures.

                The closures have posed significant safety risks to students at Douglass and

Zavala and have exacerbated the pre-existing and long-standing discriminatory practices of

EPISD against the Chamizal neighborhood.

                Plaintiff has suffered, is suffering, and will continue to suffer irreparable injury as

a result of Defendants’ actions described in this complaint if not enjoined by the Court.

Plaintiff’s members have also suffered, are suffering, and will continue to suffer irreparable

injury as a result of Defendants’ actions and would have standing to sue in their own right.

                                      CAUSES OF ACTION

            COUNT I: VIOLATIONS OF THE EQUAL PROTECTION CLAUSE
                         AS ENFORCED BY 42 U.S.C. § 1983

                Plaintiff incorporates by reference the foregoing paragraphs as though fully set

forth herein.

                The Fourteenth Amendment to the United States Constitution provides that “No

State shall . . . deny to any person within its jurisdiction the equal protection of the laws.”

                EPISD, through its Board, intentionally discriminated against students who

attended Beall and Burleson, as well as their families, on the basis of their race and/or national

origin in violation of the Fourteenth Amendment.




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                Defendants purposefully discriminated and/or continue to discriminate on the

basis of race and/or national origin against Hispanic and Mexican-American parents and students

by:

                a)     Manipulating capacity measurement criteria to promote closure of schools
                       with more Mexican-American students and in more Mexican-American
                       neighborhoods, and preventing closure of schools with more white
                       students and in more white neighborhoods.

                b)     Closing and consolidating the Chamizal Schools without closing similarly-
                       situated whiter schools;

                c)     Closing and consolidating the Chamizal Schools without providing
                       funding for construction of new facilities, when similarly-situated schools
                       with a greater percentage of white students that were slated for closure
                       also received funding for construction of new facilities;

                d)     Failing to provide translation for Spanish-speaking parents of important
                       meetings and documents, which has (i) prevented monolingual Spanish-
                       speaking parents from understanding important comments and information
                       by English speakers, including staff and trustees; and (ii) prevented
                       monolingual Spanish-speaking parents from providing meaningful input
                       on important district-wide issues on which English-speaking parents may
                       provide meaningful input, including school closures.

                e)     Allocating less funding to the Chamizal Schools compared to similarly-
                       situated schools with a greater percentage of white students; and

                f)     Failing to take appropriate steps to ensure safety at the Chamizal Schools
                       and other schools with a high percentage of Hispanic and Mexican-
                       American students, including preventing students from being exposed to
                       environmental hazards and ensuring students are able to safely commute
                       to school.

                At all relevant times, Defendants were acting or purporting to act under color of

state law.

                Plaintiff has no adequate remedy at law.

         COUNT II: VIOLATIONS OF TITLE VI OF THE CIVIL RIGHTS ACT

                Plaintiff incorporates by reference the foregoing paragraphs as though fully set

forth herein.

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               Title VI of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000d, et seq. (“Title VI”),

provides that “No person in the United States shall, on the ground of race, color, or national

origin, be excluded from participation in, be denied benefits of, or be subjected to discrimination

under any program or activity receiving federal financial assistance.”

               Defendant EPISD operates programs in receipt of federal funds and are thus

covered by Title VI’s prohibition on race and national origin discrimination.

               The United States Department of Justice, which oversees enforcement of and

compliance with Title VI by recipients of federal funds, issued guidance entitled Guidance for

Federal Financial Assistance Recipients Regarding Title VI Prohibition Against National Origin

Discrimination Affecting Limited English Proficient Persons, 67 F.R. 41455 (June 18, 2002),

which states that “Under DOJ regulations implementing Title VI of the Civil Rights Act of 1964,

42 U.S.C. § 2000d, et seq., (Title VI), recipients of Federal financial assistance have a

responsibility to ensure meaningful access to their programs and activities by persons with

limited English proficiency.”

               A January 7, 2015 “Dear Colleague” letter written jointly by the DOE’s Assistant

Secretary for Civil Rights and the USDOJ Acting Assistant Attorney General for Civil Rights

provided guidance concerning the importance of providing access to LEP parents of public

school children, stating:

               School districts and [State Educational Agencies] have an obligation
               to ensure meaningful communication with LEP parents in a
               language they can understand and to adequately notify LEP parents
               of information about any program, service, or activity of a school
               district or SEA that is called to the attention of non-LEP parents. At
               the school and district levels, this essential information includes but
               is not limited to information regarding: language assistance
               programs, special education and related services, IEP meetings,
               grievance procedures, notices of nondiscrimination, student
               discipline policies and procedures, registration and enrollment,

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              report cards, requests for parent permission for student participation
              in district or school activities, parent-teacher conferences, parent
              handbooks, gifted and talented programs, magnet and charter
              schools, and any other school and program choice options. . . . It is
              not sufficient for the staff to merely be bilingual.

              EPISD is aware that a significant portion of the parents within its geographical

boundaries do not speak English.

              EPISD is aware that a significant portion of the parents within the Chamizal

neighborhood do not speak English.

              Defendants purposefully discriminated and/or continue to discriminate on the

basis of race and/or national origin against Hispanic and Mexican-American parents and students

by:


              a)      Manipulating capacity measurement criteria to promote closure of schools
                      with more Mexican-American students and in more Mexican-American
                      neighborhoods, and preventing closure of schools with more white
                      students and in more white neighborhoods.

              b)      Closing and consolidating the Chamizal Schools without closing similarly-
                      situated whiter schools;

              c)      Closing and consolidating the Chamizal Schools without providing
                      funding for construction of new facilities, when similarly-situated schools
                      with a greater percentage of white students that were slated for closure
                      also received funding for construction of new facilities;

              d)      Failing to provide translation for Spanish-speaking parents of important
                      meetings and documents, which has (i) prevented monolingual Spanish-
                      speaking parents from understanding important comments and information
                      by English speakers, including staff and trustees; and (ii) prevented
                      monolingual Spanish-speaking parents from providing meaningful input
                      on important district-wide issues on which English-speaking parents may
                      provide meaningful input, including school closures.

              e)      Allocating less funding to the Chamizal Schools compared to similarly-
                      situated schools with a greater percentage of white students; and




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       f)     Failing to take appropriate steps to ensure safety at the Chamizal Schools
              and other schools with a high percentage of Hispanic and Mexican-
              American students, including preventing students from being exposed to
              environmental hazards and ensuring students are able to safely commute
              to school.

                            RELIEF REQUESTED

WHEREFORE, Plaintiff respectfully requests that this Court:

1.     declare that Defendants have violated, continue to violate, and threaten to violate

       the laws of the United States as described above;

2.     issue a permanent injunction—

       a.     enjoining EPISD from selling, leasing, exchanging, or otherwise

              encumbering the Disputed Property;

       b.     requiring EPISD to reopen Beall and Burleson;

       c.     requiring EPISD to provide funding to the Chamizal Schools for updates

              and construction consistent with that provided to other schools in the Bond

              Project;

       d.     requiring EPISD to conduct testing and remediation to ensure safety,

              including environmental safety, at the Chamizal Schools;

       e.     requiring EPISD to ensure student safety at the Chamizal schools,

              including (i) changing the attendance zones for the Chamizal Schools to

              ensure that no student is required to cross Highways 54, 110, or 62 to

              attend the school in their attendance zone; (ii) providing sufficient staffing

              to ensure student safety; (iii) making improvements to Chamizal School

              facilities, including modern HVAC systems with air filtration for ultrafine

              particulate matter; (iv) implementing pollution mitigation barriers at the



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              Chamizal Schools; and (v) adding fencing to prevent students from being

              injured by hazards, including the canal near Douglass; and

       f.     requiring EPISD to implement policies and procedures to ensure adequate

              communication with Spanish-speaking parents, including translation at

              Board meetings and translation of documents and any information that is

              provided to English-speaking parents;

3.     appoint a monitor to ensure EPISD’s compliance with this Court’s order;

4.     award Plaintiffs’ reasonable attorneys’ fees and costs pursuant to 42 U.S.C. §

       1988; and

5.     grant such other relief as the Court deems appropriate.




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Dated: June 15, 2020                   Respectfully submitted,

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